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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                   Plaintiff,               )                     4:06CR3016
                                            )
            v.                              )
                                            )
ARMANDO GARCIA-DELACRUZ,                    )        ORDER ON MOTION TO EXTEND
                                            )                DEADLINE
                   Defendants.              )
                                            )


      IT IS ORDERED that:

      1.     the Motion to Extend Deadline, filing 213, is granted;

      2.    the defendant by and through counsel shall have on or before November 22, 2010,
            in which to file a response to the government’s Motion for Summary Judgment and
            to file an Amended § 2255 Motion; and

      3.    the government shall file a reply within thirty days of the date of the filing of the
            defendant’s counsel’s documents.

      Dated November 2, 2010.

                                   BY THE COURT

                                   s/ Warren K. Urbom
                                   United States Senior District Judge
